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 4
     Attorneys for Defendant, DEREK WINTERS
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 6

 7                                   IN THE UNITED STATES DISTRICT COURT

 8                                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATE OF AMERICA,                                      Case No:   2:12-cr-00198-MCE
10
                     Plaintiff,
                                                                   WAIVER OF DEFENDANT’S
11   vs.                                                           APPEARANCE AND ORDER THEREON

12   STEVEN ORTEGA, et al.,

13               Defendant(s).
     _______________________________________/
14

15
           Pursuant to Federal Rule of Criminal Procedure 43(b)(3), defendant Derek Winters, in the above- entitled
16
     matter, hereby waives the right to be present in person in open court upon most pre-trial proceedings in this
17   case, including, when the case is ordered set for trial, when a continuance is ordered, and when any other

18   action is taken by the court except for arraignment, entry of plea, all motion hearings, trial confirmation

19   hearing, empanelment of jury, trial, and imposition of sentence.

20         Defendant agrees that his interest will be deemed represented at all times by the presence of his attorney,

21   the same as if defendant were personally present, and further agrees to be present in court, ready for trial, any

     day and hour the court may set in his absence.
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26                                          WAIVER OF DEFENDANT’S APPEARANCE
                            Case 2:12-cr-00198-MCE Document 248 Filed 07/11/12 Page 2 of 2


 1                          Defendant acknowledges that he has been informed of his rights under Title 18 U.S.C. §§ 3161-3174

 2   (Speedy Trial Act), and authorizes his attorney to set times and delays under the Act without defendant present.

 3
     Dated June 21, 2012                                                          /s/ Derek Winters (original kept on file)
                                                                                  DEREK WINTERS
 4

 5
     Dated June 21, 2012                                                          /s/ Russell S.Humphrey
 6                                                                                RUSSELL S. HUMPHREY
                                                                                  Attorney for Defendant DEREK WINTERS
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                            IT IS SO ORDERED.
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10
     Dated: July 10, 2012
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                                                                  __________________________________
12                                                                MORRISON C. ENGLAND, JR
                                                                  UNITED STATES DISTRICT JUDGE
13   DEAC_Signatu re-END:




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26                                                          WAIVER OF DEFENDANT’S APPEARANCE
